      Case: 16-10507   Document: 00513911063    Page: 1     Date Filed: 03/14/2017

     Case 3:15-cr-00029-N Document 89 Filed 03/14/17   Page 1 of 2 PageID 935



           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                             _______________________
                                                                    United States Court of Appeals
                                                                             Fifth Circuit

                                 No. 16-10507                              FILED
                              Summary Calendar                     February 20, 2017
                           _______________________                    Lyle W. Cayce
                         D.C. Docket No. 3:15-CR-29-1                      Clerk

UNITED STATES OF AMERICA,

             Plaintiff - Appellee
v.

ROGER HARRY OLSON, II,

             Defendant - Appellant

              Appeals from the United States District Court for the
                       Northern District of Texas, Dallas

Before JOLLY, SMITH, and GRAVES, Circuit Judges.

                                JUDGMENT

       This cause was considered on the record on appeal and the briefs on file.

      It is ordered and adjudged that the judgment of the District Court is
affirmed.




                                                  Certified as a true copy and issued
                                                  as the mandate on Mar 14, 2017
                                                  Attest:
                                                  Clerk, U.S. Court of Appeals, Fifth Circuit
      Case: 16-10507    Document: 00513911205         Page: 1   Date Filed: 03/14/2017

  Case 3:15-cr-00029-N Document 89 Filed 03/14/17          Page 2 of 2 PageID 936



                       United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
LYLE W. CAYCE                                                          TEL. 504-310-7700
CLERK                                                               600 S. MAESTRI PLACE
                                                                   NEW ORLEANS, LA 70130



                                March 14, 2017


Ms. Karen S. Mitchell
Northern District of Texas, Dallas
United States District Court
1100 Commerce Street
Earle Cabell Federal Building
Room 1452
Dallas, TX 75242

       No. 16-10507       USA v. Roger Olson, II
                          USDC No. 3:15-CR-29-1


Dear Ms. Mitchell,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk



                                    By: _________________________
                                    Melissa V. Mattingly, Deputy Clerk
                                    504-310-7719
cc:
       Mr. James Wesley Hendrix
       Mr. Roger Harry Olson II
       Mr. Gary C. Tromblay
